CaSe liOS-CV-OOQQJ_-PL|\/| ECF NO. 430 filed 08/22/18 Page|D.€SOS Page 1 Of 1

UNITED STATES DlSTR|CT COURT
WESTERN DlSTR|CT OF M|CH|GAN
SOUTHERN D|V|S|ON

ROBERT CARLSON, Personai Representative
Of the Estate of Craig Carison,

 

Piaintiff,

v Fiie No. 1:08-CV-9“91
Hon. Paui L. i\/iaioney

GRAND`TRAVERSE COUNTY,

Defendant.
Grant W. Parsons (P38214) Christopher K. Cooke (P35034)
Parsons Law Firm PLC Neumann Law Group
Attorney for Piaintiff Atty for County & Fewins
520 S Union, PO Box 1710 300 Front Str, Ste. 460
Traverse City |\/ii 49685~1710 Traverse City i\/ii 49684
(231) 929-3113 (231) 221-0050
info@parsonsiawfirm.net chris@neumanniawgroup.com

 

 

CERT|F|CATE OF CONCURRENCE RE PLA|NT|FF’S MOT|ON FOR APPROVAL
OF WRONGFUL DEATH SETTLEN|ENT AND DlSTR|BUT|ON

NOW COMES PLA|NTiFF, by counsei, and certifies that he has made contact
With Defense Counsei, Christopher Cooke on August 21, 2018, in an effort to gain his
concurrence with the above captioned Motion for Approvai of Wrongfui Death
Settiement and Distribution. Defense counsei concurs in the relief requested

Date: August 22, 2018 §jGrantW. Parsons
Parsons i_aW Firm PLC
Attomeys for Piaintiff
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